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    ESTATE OF RODNEY COLEMAN, et al.
 11
                         UNITED STATES DISTRICT COURT
 12
 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14
       ESTATE OF RODNEY COLEMAN,     )          CASE NO.: 5:23-cv-01586-SSS-SHK
 15    by and through successor in interest,
                                     )
       WILLIE MAE BAYLOR; WILLIE     )
 16    MAE BAYLOR, individually,     )          STIPULATION FOR DISMISSAL
                                     )
 17                                  )
                           Plaintiff )
 18        v.                        )
                                     )
 19    SAN BERNARDINO SHERIFF’S      )
       DEPARTMENT, a public entity;  )
 20    COUNTY OF SAN BERNARDINO, )
       a public entity;              )
 21    and DOES 1 through 10,        )
       individually,                 )
 22                                  )
                           Defendant )
 23                                  )
                                     )
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                                   STIPULATION FOR DISMISSAL
Case 5:23-cv-01586-SSS-SHK Document 27 Filed 07/09/24 Page 2 of 2 Page ID #:151



  1          TO THE CLERK OF THE COURT, THE COURT, ALL PARTIES AND
  2    TO THEIR ATTORNEYS OF RECORD HEREIN:
  3          Plaintiff ESTATE OF RODNEY COLEMAN, et al. hereby stipulates under
  4    Federal Rule of Civil Procedure 41(a)(1)(ii) that this action be dismissed with
  5    prejudice as to all claims, causes of action, and parties, with each party bearing that
  6    party’s own attorney’s fees and costs.
  7    Dated: July 9, 2024            LAW OFFICES OF CHRISTIAN CONTRERAS
                                            PROFESSIONAL LAW CORPORATION
  8
  9                                     By:
 10                                             CHRISTIAN CONTRERAS
                                                Attorney for Plaintiff,
 11                                             ESTATE OF RODNEY COLEMAN, et al.
 12
 13    DATED: July 9, 2024              WESIERSKI & ZUREK LLP
 14
 15                                     By: /s/ Michelle R. Prescott
 16                                           Michelle R. Prescott
                                              Attorneys for Defendants
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                                    STIPULATION FOR DISMISSAL
